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                                                      Court-Appointed Temporary Receiver for Link Motion Inc.
                                                      Pursuant to The Honorable Judge Victor Marrero of the
                                                      United States District Court, Southern District of New York
_____________________________________________________________________________________________
Robert W. Seiden, Esq. | The Seiden Group
469 7th Avenue, 5th Floor, New York, New York 10036
Tel: (646) 766-1724, Email: rseiden@seidenlegal.com


VIA FAX (212) 805-6382
Hon. Victor Marrero
Suite 1040
United States Courthouse
500 Pearl Street
New York, New York 10007

September 18, 2019

REQUEST FOR THIS LETTER AND THE ATTACHED ENGAGEMENT LETTER TO
BE MAINTAINED UNDER SEAL

                   Re: Wayne Baliga v. Link Motion Inc. et al. 1:18-c-11642

Dear Honorable Judge Marrero,

       I write to you pursuant to your Honor’s February 1, 2019 Order to request approval to
retain the law firm KSG Attorneys at Law to perform certain work on behalf of Link Motion Inc.
(or the "Company") and the Receiver to ensure that the Company's status quo is preserved. In
particular, in order for the Receiver to have the ability to take certain actions on behalf of the
Company in the Cayman Islands (“Cayman”), this Court’s Receivership Order must first be
domesticated in Cayman (similar to the domestication in Hong Kong that the Receiver has
secured).
       Attached to this letter, please find the proposed engagement agreement that the Receiver
seeks approval of. My team has discussed this work and engagement with multiple law firms in
Cayman, and it was determined that, KSG Attorneys at Law are professionally qualified to perform
this legal work, and among the qualified firms, are the most reasonable in their proposed fees.
       Please do not hesitate to contact me via email or telephone if your Honor wishes to discuss
this request in more detail.

Respectfully submitted,


Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for Link Motion Inc.
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                              Robert W. Seiden, as Temporary Receiver of Link Motion Inc.
                              Seiden Law Group LLC
                              469 7th Avenue
                              New York, NY 10018
                              United States
4th Floor
Harbour Centre                                                                                             9 September 2019
42 North Church St.
P.O. Box 2255                 Sent by: Email only
Grand Cayman
KY1-1107
Cayman Islands
                              Dear Mr Seiden,
Tel: 1-345-949-0003
markrussell@ksglaw.ky

www.ksglaw.ky
                              Re: Link Motion Inc. – Cayman Islands Receivership

                              Thank you for your instructions to act for you with respect to the
                              captioned matter. We write with the terms and conditions upon which we
                              will act.


                              We will regard Robert W. Seiden, in his capacity as Temporary Receiver of
                              Link Motion Inc., (the “Receiver”) as our client of record in this matter.
                              We will look to the Receiver, or any attorneys or staff at Seiden Law Group
                              LLC as advised by the Receiver, for instructions on your behalf.


                              Scope of Instructions
                              We have been instructed by you to advise and represent the Receiver in
                              connection with a proposed application to the Grand Court of the Cayman
                              Islands seeking: (a) primarily, recognition under Cayman Islands law of the
                              appointment of the Receiver and the receivership terms of the order dated
                              1 February 2019 made by the US District Court for the Southern District of
                              New York appointing the Receiver; and (b) in the alternative, the
                              appointment of the Receiver as receiver of Link Motion Inc. under section
                              11A of the Grand Court Law (2015 Revision) (receivership in aid of foreign
                              proceedings).




            KSG Attorneys at Law is a body corporate under the Legal Practitioners (Incorporated Practice) Regulations 2006 (as
            revised) of the Cayman Islands and is incorporated in the Cayman Islands as an ordinary company as KSG Attorneys Ltd.
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     Terms and Conditions
     We have included a link to our terms and conditions which, subject to the
     exclusions referred to below, will apply to this matter:
     http://www.ksglaw.ky/assets/pdf/TermsandConditionsKSG.pdf


     Lawyers
     At this firm, Mark Russell will be the lawyer responsible for the conduct of
     this matter but may be assisted from time to time by other fee earners as
     appropriate.


     Professional Fees
     We will undertake the work within the Scope of Instructions above for a fixed
     professional fee of US$3,000.00. This fee will apply whether the court
     application is opposed or unopposed.


     Billing and Disbursements
     We will render a fee note to you at the conclusion of the work contemplated.
     In addition to our professional fees in the fixed amount stated above, our
     fee note will include any separate out-of-pocket expenses such as filing fees
     and long-distance calls. The anticipated court fee for the proposed
     application is CI$5,000.00 (US$6,097.56).


     Termination
     You may terminate your instructions to us and we may cease to act for you
     at any time, in each case by written notice.


     Anti-Money Laundering Regulations
     Under   the    Anti-Money   Laundering    Regulations    (2018   Revision)   (the
     Regulations) we are required to take steps to identify certain types of
     applicants for business who engage us in respect of certain types of matters
     (relevant financial business). Litigation is not ordinarily classified as relevant
     financial business under the Regulations, but circumstances may arise
     during the course of our engagement where the nature of the matter brings

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     it within the definition of relevant financial business. At that stage we will
     ask you to supply us with documents and records sufficient to establish the
     identity of the client or its principals. Any documents and records that you
     do send us may be stored electronically.


     Payment
     We would ask that our fee notes be paid within 14 days of the date of the
     fee note. Please contact us immediately if you have any queries concerning
     our fee notes or you foresee any difficulties in settling our outstanding fee
     notes promptly.


     Given the nature of the matter, we will require an initial deposit on account
     of US$9,067.56 to cover the fixed professional fee and anticipated court
     filing fee. We will have the right to apply those monies in payment or part-
     payment of unpaid fee notes.


     Please note that we will look to you for payment of our charges irrespective
     of the outcome of any proceedings or any order for costs that may be made
     against the other side. We should add that at the conclusion of this matter
     and in the event that you are successful, you may be entitled to the payment
     of your costs by the other party, however, it is unlikely that you will recover
     the full amount you have been billed by us. In particular, there are quite
     strict rules about the recoverability of the cost of attorneys who are not
     admitted in the Cayman Islands, further details on this point can be provided
     on your request.


     We acknowledge that the Receiver enters into this retainer solely in his
     capacity as Receiver and not in his personal capacity.


     Governing Law and Jurisdiction
     The terms of this retainer shall be governed by the laws of the Cayman
     Islands and by signing this agreement you submit to the jurisdiction of the
     Cayman Islands for all purposes in connection with this agreement.         Any

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     dispute or difference arising out of or in connection with this agreement shall
     be determined exclusively by the Cayman Islands courts.


     Miscellaneous
     We trust that you will find these arrangements acceptable. If you wish to
     discuss the above, please feel free to contact us. If, at any time, you have
     questions or complaints, please let Mark Russell know at once so that he
     may take appropriate action.


     In acknowledgement and acceptance of these terms, a copy of this letter
     should be signed, dated and returned to us immediately.


     Yours Faithfully,




     KSG Attorneys at Law




     I agree to the terms in this retainer agreement in full:



     Acknowledged and agreed to by Robert W. Seiden, in his capacity as
     Temporary Receiver of Link Motion Inc.



     ________________



     Dated: ____ September 2019




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